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				GRAHAM PUBLIC SCHOOLS v. PRIDDY2014 OK 30Case Number: 111038Decided: 04/22/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 30, __ P.3d __


GRAHAM PUBLIC SCHOOLS and COMPSOURCE OKLAHOMA, Petitioners,
v.
DENA PRIDDY and THE WORKERS' COMPENSATION COURT, Respondents.



CERTIORARI TO THE COURT OF CIVIL APPEALS, DIVISION I,ON APPEAL FROM THE WORKERS' COMPENSATION COURTSTATE OF OKLAHOMA

HONORABLE OWEN EVANS, JUDGE



¶0 On February 25, 2011, Claimant was injured at work as she walked out a door used by employees to exit Employer's school building. A rug outside the door slipped out from under her, causing her to fall. At the time of this accident, claimant was leaving work early due to a family medical emergency. The Workers' Compensation Court found this injury to be compensable, but the Court of Civil Appeals ruled it was not. The Court of Civil Appeals held that claimant was on a personal mission at the time of the injury and vacated the award of benefits. Claimant filed a petition for certiorari, asking this Court to review the opinion of the Court of Civil Appeals.



CERTIORARI PREVIOUSLY GRANTED, COURT OF CIVIL APPEALS OPINIONVACATED AND AWARD OF BENEFITS REINSTATED.



Patrick Parr, Brandy L. Shores, Latham, Wagner, Steele &amp; Lehman, P.C., Tulsa, Oklahoma, for Petitioners,
Gregory G. Meier, Angeline S. Morris, Meier &amp; Associates, Tulsa, Oklahoma, for Respondents.




REIF, V.C.J.:


¶1 The dispositive question in this case is whether Claimant's injury while leaving work in response to a family medical emergency arose out of her employment. The Workers' Compensation Court answered this question in the affirmative. In a review proceeding brought by Employer, the Court of Civil Appeals disagreed, ruling claimant was on a personal mission at the time of her injury and, therefore, the injury did not arise out of her employment. Upon certiorari review sought by Claimant, we note that an employee's purpose in leaving work is relevant, but not dispositive, in deciding whether going and coming injuries arise out of employment. The test for such injuries is set forth in Corbett v. Express Personnel, 1997 OK 40, ¶ 8, 936 P.2d 932, 934. The material undisputed facts in the case at hand establish as a matter of law that claimant's injury was compensable under the second factor in the Corbett test.

¶2 In Corbett, this Court said: "When they occur on premises owned or controlled by the employer, injuries sustained by an employee while going to or from work may be compensable in certain circumstances if (a) the claimant's employment is shown to have a connection to the causative risk encountered, or (b) the precipitating risk of harm was created (or maintained) by the employer." Id. (footnotes omitted). In the case at hand, it is undisputed that "the precipitating risk of harm" was a rug Employer placed outside the door that employees, such as Claimant, used to exit Employer's school building. Claimant's undisputed testimony established that "the rug slipped out from under [her]" and "scooted" in her first effort to get up. Claimant related that she was unable to get up until she crawled off the rug to the solid sidewalk.

¶3 We are mindful that the Corbett case disallowed workers' compensation benefits to an injured employee who left work early on a personal mission. However, the employee in Corbett was injured "when he lost control of [his motorcycle] and hit a fence upon the premises." ¶ 4, 936 P.2d at 933. Other than permit the employee to depart early, the employer in Corbett did nothing to create the risk or to contribute to the injury sustained by the departing employee. As the Corbett opinion explained: "[C]laimant's injuries arose out of his personal mission because the causative risks he encountered on his harm-dealing errand . . . can be regarded neither as job-related nor as hazards created by the employer." ¶ 3, 936 P.2d at 933 (emphasis in original). In contrast, Employer in the case at hand placed the rug outside the door in question.

¶4 Although not raised by the parties nor addressed by the Court of Civil Appeals, we note that Claimant's injury, occurring on February 25, 2011, was governed by the statutory definition of employment set forth in 85 O.S.Supp 2010, § 11(A)(5). This statute provides, in pertinent part, that "Employment shall be deemed to commence when an employee arrives at the employee's place of employment to report for work and shall terminate when the employee leaves the employee's place of employment." This statutory definition contains only two exclusions: (1) injuries in areas not under the control of the employer, and (2) injuries in areas where essential job functions are not performed.

¶5 Neither of these exclusions apply to the case at hand, because (1) the door through which Claimant exited the school building was under the control of Employer school, and (2) entering and leaving the building where she worked through a door provided and maintained by Employer for that purpose was essential to Claimant's job function. Not only are these exclusions inapplicable to the case at hand, they do not manifest any intent to abrogate coverage under Corbett for a going or coming injury where the precipitating risk of harm was created or maintained by the employer.

¶6 In the case of Intermedix Corp. v. Wolf, 2013 OK CIV APP 82, 313 P.3d 287, the Court of Civil Appeals did apply section 11(A)(5) to preclude coverage for an employee (1) who was injured while leaving work and (2) who had not left the building where her employer's office was located. However, the dispositive fact in that case was that the stairway upon which she fell was owned and maintained by the landlord of the building where employer rented space, and was not owned or maintained by the employer. In other words, the employment of the injured employee in the Wolf case ended when she entered the common stairway. In contrast, Claimant in the case at hand was still within the statutory definition of employment and protected by the rule in Corbett as she passed through the doorway.

¶7 The record in the case at hand consists largely of Claimant's undisputed testimony. Employer school did not deny that it placed the rug outside the door in question, contest Claimant's right to use the door to leave the building in which she worked or attempt to show that the rug was not slippery as Claimant described.

¶8 Where there is no conflict in the evidence and no opposite inferences to be drawn from undisputed proof, the question of whether an injury arises out of and in the course of employment is one of law. Lanman v. Oklahoma County Sheriff's Office, 1998 OK 37, ¶ 6, 958 P.2d 795, 798. Questions of law are reviewed by a de novo standard under which this Court has plenary, non-deferential and independent authority to determine whether lower courts have erred in their legal rulings. Patterson v. Sue Estell Trucking Co., 2004 OK 66, ¶ 5, 95 P.3d 1087, 1088.

¶9 Upon de novo review of the undisputed evidence in the case at hand, we hold that employer's rug, which slipped out from under Claimant and caused her to fall was a precipitating risk of harm created by employer. As such, the injury that Claimant sustained as a consequence arose out of Claimant's employment as defined by 85 O.S.2010, § 11(A)(5) and under the second factor in the Corbett test, notwithstanding the personal mission that prompted Claimant to depart work early. The opinion of the Court of Civil Appeals, ruling that Claimant's injury did not arise out of her employment, was in error and is vacated. Because the Workers' Compensation Court correctly determined that Claimant's injury did arise out of her employment, the award of benefits ordered by that court is reinstated.


CERTIORARI PREVIOUSLY GRANTED, COURT OF CIVIL APPEALS OPINIONVACATED AND AWARD OF BENEFITS REINSTATED.



¶10 COLBERT, C.J., REIF, V.C.J., WATT, EDMONDSON, COMBS and GURICH, JJ., concur.

¶11 KAUGER, WINCHESTER, and TAYLOR, JJ., dissent. 







	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Court of Civil Appeals Cases&nbsp;CiteNameLevel&nbsp;2013 OK CIV APP 82, 313 P.3d 287, INTERMEDIX CORPORATION v. WOLFDiscussedOklahoma Supreme Court Cases&nbsp;CiteNameLevel&nbsp;1997 OK 40, 936 P.2d 932, 68 OBJ        1282, Corbett v. Express PersonnelDiscussed&nbsp;2004 OK 66, 95 P.3d 1087, PATTERSON v. SUE ESTELL TRUCKING CO.Discussed&nbsp;1998 OK 37, 958 P.2d 795, 69 OBJ        1887, LANMAN v. OKLAHOMA COUNTY SHERIFF'S OFFICEDiscussedTitle 85. Workers' Compensation&nbsp;CiteNameLevel&nbsp;85 O.S. 11, Repealed by Laws 2011, SB 878, c. 318, § 87Discussed


				
					
					
				
             
         
        
            

		